Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 1 of 22 Page ID #:2742




 1   J David Jackson (admitted Pro Hac Vice)
     jackson.j@dorsey.com
 2   DORSEY & WHITNEY LLP
     50 South Sixth Street, Suite 1500
 3   Minneapolis, MN 55402-1498
     Tel: (612) 340-2600; Fax: (612) 340-2868
 4
     Kent J. Schmidt (SBN 195969)
 5   schmidt.kent@dorsey.com
     Bryan M. McGarry (SBN 258156)
 6   mcgarry.bryan@dorsey.com
     DORSEY & WHITNEY LLP
 7   600 Anton Boulevard, Suite 2000
     Costa Mesa, CA 92626-7655
 8   Tel: (714) 800-1400; Fax: (714) 800-1499
 9   Attorneys for Defendant
     SCB & ASSOCIATES, LLC
10
11                         UNITED STATES DISTRICT COURT
12          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
13 PETRO-DIAMOND INCORPORATED,                  CASE NO: 8:12-cv-01893 CJC (ANx)
   a Delaware corporation,
14                                              District Judge
               Plaintiff,                       Hon. Cormac J. Carney
15
           vs.                                  Magistrate Judge
16                                              Hon. Arthur Nakazato
17   SCB & ASSOCIATES, LLC, a Delaware          MEMORANDUM OF POINTS AND
     limited liability company; ABSOLUTE        AUTHORITIES IN SUPPORT OF
18   FUELS, LLC, a Texas limited liability      DEFENDANT SCB & ASSOCIATES,
     company; and DOES 1 through 5,             LLC’S MOTION IN LIMINE NO. 1 TO
19                                              EXCLUDE OR LIMIT THE EXPERT
                 Defendants.                    REPORT AND OPINION
20                                              TESTIMONY OF ANDREW LIPOW
21                                              [Concurrently filed with Notice of Motion
                                                and Motion; Declaration of Kent J.
22                                              Schmidt; and [Proposed] Order]
23                                              Date:      July 7, 2014
                                                Time:      3:00 p.m.
24                                              Courtroom: 9B
25                                              Action Filed:   October 31, 2012
                                                FAC Filed:      January 28, 2013
26                                              Trial Date:     July 15, 2014
27
28
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 2 of 22 Page ID #:2743




                                              TABLE OF CONTENTS
 1
 2   I.    ARGUMENT................................................................................................... 2
 3         A.       Overview of Lipow’s Expert Report ..................................................... 2
 4         B.       Lipow’s Opinions on Reasonable Reliance .......................................... 4
 5                  1.       The Lipow Deposition Testimony Relating to the
                             Foundation for His Opinions in the Initial Report,
 6                           including Reasonable Reliance ................................................... 5
 7                  2.       Lipow’s Opinion and Testimony on whether It Was
 8                           Reasonable for PDI to Rely on SCB’s Statements Is
                             Inadmissible ................................................................................ 7
 9
                             a.       Lipow’s Opinion Does Not Assist the Jury in Making a
10                                    Determination on the Reasonableness of PDI’s Reliance 9
11                           b.       Opinion Testimony on Reasonableness of Reliance Is
                                      Generally Not Permissible.............................................. 10
12
                             c.       Lipow is Not Applying any Standard to His Analysis ... 11
13
                             d.       Even if the Opinions Lipow Intends to Offer Were
14                                    Permitted, He Has No Basis to Opine on Reasonableness
15                                    of Pascu’s Reliance on Silin’s Statements because Lipow
                                      Has No Education, Training or Experience Relating to
16                                    RINs ................................................................................ 13
17         C.       Lipow’s Opinions on Existence of a Partnership ................................ 14
18                  1.       Summary of the Rebuttal Report .............................................. 15
19                  2.       A “Partnership Formation” Expert Impermissibly
                             Invades the Role of the Court by Instructing the Jury on
20                           the Law...................................................................................... 15
21                  3.       Lipow is Not Qualified to Offer an Opinion on
22                           Partnership Formation............................................................... 16

23 II.     CONCLUSION ............................................................................................. 17

24
25
26
27
28
                                             i
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 3 of 22 Page ID #:2744




                                                  TABLE OF AUTHORITIES
 1
 2                                                                                                                            Page(s)

 3     Cases
 4     Aguilar v. International Longshoremen’s Union Local No. 10,
 5       966 F.2d 443 (9th Cir. 1992) ................................................................................. 11, 15

 6     Ameen William Toomey Junior v. Nextel Communications, Inc.,
         2004 U.S. Dist. LEXIS 30793 (N.D. Cal. Sept. 23, 2004) .............................................9
 7
 8     Bourjaily v. United States,
         483 U.S. 171 (1988)........................................................................................................9
 9
       Brighton Collectibles, Inc. v. Renaissance Group Int’l,
10
          2008 U.S. Dist. LEXIS 39707 (S.D. Cal. May 13, 2008) ..............................................8
11
       Cargill, Inc. v. Int’l Exch. Servs., LLC,
12       2013 WL 76209 (S.D.N.Y. Jan. 8, 2013) .......................................................................3
13
   Certain Underwriters at Lloyds, London v. Inlet Fisheries, Inc.,
14     389 F.Supp.2d 1145 (D. Alaska 2005), aff’d, 518 F.3d 645 (9th
       Cir.2008) .......................................................................................................................14
15
16 In re Commercial Money Center, Inc.,
       737 F.Supp.2d 815 (N.D. Ohio 2010) ................................................................... 10, 11
17
18 County of Riverside v. Loma Linda University,
       118 Cal. App. 3d 300 (1981) ........................................................................................16
19
   Daubert. Monolithic Power Systems, Inc. v. O2 Micro Int’l Ltd.,
20     476 F. Supp.2d 1143 (N.D. Cal. 2007) ...........................................................................9
21
   Daubert v. Merrell Dow Pharmaceuticals, Inc.,
22     43 F.3d 1311 (9th Cir. 1995) ............................................................................. 8, 11, 12
23 Daubert v. Merrell Dow Pharms., Inc.,
24   509 U.S. 579 (1993)....................................................................................................8, 9
25 Diviero v. Uniroyal Goodrich Tire Co.,
26    114 F.3d 851 (9th Cir. 1997) ..........................................................................................8

27 Domingo v. T.K.,
     289 F.3d 600 (9th Cir. 2002) ..........................................................................................8
28
                                                   ii
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 4 of 22 Page ID #:2745




      DSU Med. Corp. v. JMS Co., Ltd.,
 1
        296 F. Supp.2d 1140 (N.D. Cal. Mar. 26, 2003) ............................................................9
 2
      General Elec. Co. v. Joiner,
 3      522 U.S. 136 (1997)................................................................................................. 8, 12
 4
      Guido v. Koopman,
 5      1 Cal. App. 4th 837 (1991) .............................................................................................9
 6    Holtz v. United Plumbing & Heating Co.,
 7      49 Cal. 2d 501 (1957) ...................................................................................................16

 8    Hubbard v. Rite Aid Corp.,
        433 F. Supp.2d 1150 (S.D. Cal. 2006) ...........................................................................9
 9
10 Kaljian v. Menezes,
     36 Cal. App. 4th 573 (1995) .........................................................................................16
11
   Kumho Tire Co., Ltd. v. Carmichael,
12
     526 U.S. 137 (1999)........................................................................................................8
13
   Lansing Trade Group v. Oceanconnect, LLC,
14   2012 WL 2449514 (D. Kan. June 26, 2012) ..................................................................3
15
   North Star Mut. Ins. Co. v. Zurich Ins. Co.,
16   269 F.Supp.2d 1140 (D. Minn. 2003) ..........................................................................12
17 Ralston v. Mortgage Investors Group, Inc.,
18    2011 WL 6002640 (N.D. Cal. Nov. 30, 2011) ...................................................... 13, 14
19 Salomon v. Andrea C. & Andrea C. Fishing Corp.,
20    2008 U.S. Dist. LEXIS 18720 (S.D. Cal. Mar. 11, 2008) ..............................................8

21 Technology Licensing Corp. v. Gennum Corp.,
      2004 U.S. Dist. LEXIS 10604 (N.D. Cal. 2004) ............................................................9
22
23 United States v. Weitzenhoff,
      35 F.3d 1275 (9th Cir.1993) .........................................................................................15
24
   Other Authorities
25
26 Federal Rules of Evidence Rule 702 ......................................................................... passim
27
28
                                                  iii
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 5 of 22 Page ID #:2746




 1           Defendant SCB & Associates, LLC (“SCB”) moves to exclude or limit the opinion
 2   and testimony of Andrew Lipow (“Lipow”) whom Petro-Diamond (“PDI”) has identified
 3   as its expert witness.
 4           This action relates to a series of transactions in late 2010 through which PDI
 5   acquired Renewable Identification Numbers (“RINs) from Absolute Fuels, LLC
 6   (“Absolute Fuels”) as a part of “sleeve” transactions. In 2012, the EPA determined that
 7   Absolute Fuels RINs were not valid. SCB brokered six of seven RIN transactions and
 8   Progressive Fuels Limited (“Progressive”) brokered the other.
 9           PDI contends that SCB’s Simon Silin (“Silin”) made fraudulent representations
10 and omitted material facts in his communications with PDI’s trader, Chelsea Pascu
11 (“Pascu”). Under PDI’s theory of the case, Pascu would not have entered into the six
12 RIN transactions had she not relied on Silin’s alleged misrepresentations and omissions.
13 Based on this general premise, PDI asserts claims for fraudulent concealment,
14 constructive fraud, and breach of fiduciary duty. In support of its breach of fiduciary
15 duty claim, PDI contends that a fiduciary duty arose either from SCB’s role as an Over
16 the Counter (“OTC”) RIN broker or that SCB and PDI entered into a partnership or joint
17 venture in connection with these RIN transactions.
18           As SCB’s pending Motion for Summary Judgment illustrates, this case largely
19 turns on a limited number of discrete legal questions. While there are complexities
20 relating to the RIN market and the manner in which RINs are produced and traded, at its
21 core, this case revolves around issues that are commonplace in business litigation,
22 including whether PDI reasonably relied on SCB and whether the parties’ relationship
23 constituted a partnership. Should this Court allow PDI to present its claims to a jury,1
24 those questions are similarly straightforward and simply ask the jury to apply the facts to
25 the law, as instructed by the Court. Most relevant to this motion, the Court would
26           1 SCB’s Motion for Summary Judgment is pending. While SCB’s position is that The Court should
27   decide these issues on summary judgment, this motion in limine alternatively assumes that these issues are
     presented to a jury.
28
                                               1
              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 6 of 22 Page ID #:2747




 1   instruct the jury on (1) the law governing reasonable reliance as an element of PDI’s
 2   fraud claims, and (2) the requirements for forming a partnership.
 3           On these key issues, PDI seeks to offer two Lipow opinions, neither of which is
 4   proper:
 5                • In his initial Expert Report (“Initial Report”), Lipow provides an opinion on
 6                   the “reasonableness” of Pascu’s alleged reliance on certain statements made
 7                   by Silin. (See Declaration of Kent Schmidt (“Schmidt Dec.”) Exh. 1 (Initial
 8                   Report).)
 9                • In his Rebuttal Expert Report (“Rebuttal Report”), Lipow provides an
10                   opinion (purportedly rebutting SCB’s expert’s opinion), that the relationship
11                   between SCB and PDI constituted a partnership under the applicable law.
12                   (See Schmidt Dec. Exh. 2 (Rebuttal Report).)
13           The Court should fulfill its gatekeeping function by excluding the opinions set
14 forth in Lipow’s Initial Report and in Lipow’s Rebuttal Report and bar Lipow from
15 testifying.2
16 I.        ARGUMENT
17           A.      Overview of Lipow’s Expert Report
18           In its April 16, 2014 designation, PDI stated that Lipow will testify on whether it
19 was reasonable for PDI to rely on certain statements of SCB. (Exh. 1 (Initial Report).) “I
20 have been retained to offer my opinion on [1] the types of information that brokers
21 provide to market participants, including traders; [2] the manner in which such
22 information is provided; and [3] the reasonableness of market participants, including
23 traders such as PDI, relying on this information.”3 (Id. pp. 3.)
24
              2 If these two impermissible opinions are excised from the two Lipow Reports, Lipow would have
25   nothing about which to testify. Should the Court disagree and allow some of Lipow’s testimony, the Court should
     limit his testimony under the applicable legal standards.
26            3 Lipow says his first two points—the type of information and manner in which it is provided—are
     separate opinions, but in the context of the entire Initial Report, and as illuminated through testimony, it is clear
27   that these points are really the purported support for his ultimate opinion, which is the reasonableness of PDI’s
28   reliance on Silin’s communications. If PDI takes the position that these are separate opinions that stand alone,
     SCB contends Lipow’s lack of experience in the RIN market also preclude him from offering these opinions.
                                                2
               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 7 of 22 Page ID #:2748




 1            Pages 2-3 of the Initial Report outline Lipow’s background and qualifications. It
 2   is apparent from a review of this portion of the Initial Report, that, while Lipow has
 3   general experience in the oil and gas field as a commodities trader, he has no experience
 4   with trading RINs, the unique transactions that are at issue here. (Id. p. 2.) Indeed, the
 5   first mention of “RINs” is on the fifth page of the Lipow Report. (Id. p. 5.)
 6            Although Lipow has written several articles on such subjects as Venezuelan oil
 7   supply and energy independence, his Initial Report lists no articles that address RINs in
 8   general or the process by which RINs are produced and traded in the OTC market. (Id.
 9   p. 3.)
10            His Initial Report next includes an overview of Renewable Fuel Standards and the
11 RIN market with quotations and citations to federal regulations. (Id. pp. 4-6.) The type
12 of information included in this section is rudimentary. It is not unlike the summaries of
13 RINs that various District Court decisions have included as an introductory preface in
14 cases addressing RINs.4
15            His Initial Report next summarizes what Lipow contends is his understanding of a
16 broker’s role in a commodities market. (Id. pp. 6-7.) This section—“Broker’s Role in
17 the Marketplace”—is apparently a summary of what Lipow believes are the services that
18 any commodities broker (not a RIN broker) does for its customer.
19            This general discussion of commodities brokers is then followed by a description
20 of what Lipow believes RIN brokers do in the marketplace. (Id. pp. 7-12.) As the
21 support for his RIN broker analysis, Lipow simply visited a few websites of firms that he
22 believed5 were RIN brokers and copied and pasted portions of their websites in his Initial
23 Report. (Id. 77:17-78:25; 83:10-84:4.) These websites contain broad and general
24
25   Moreover, while listed as part of his opinions in the Initial Report, these opinions are not addressed in the pages
     that follow.
26            4 Lansing Trade Group v. Oceanconnect, LLC, 2012 WL 2449514 *1 (D. Kan. June 26, 2012) and
     Cargill, Inc. v. Int’l Exch. Servs., LLC, 2013 WL 76209 *1-4 (S.D.N.Y. Jan. 8, 2013).
27            5 Lipow stated in his Initial Report that he could not find a website for Kempler and Company (Lipow

28   Report p. 7), but he conceded at his deposition that this entity is not even a RIN broker but rather a RIN trader.
     (Lipow Depo. 85:22-87:22)
                                                3
               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 8 of 22 Page ID #:2749




 1   summaries of services offered, not unlike what might be found on a number of financial
 2   services companies’ websites. The unremarkable statements suggest that the firms have
 3   expertise in the market and are “client focused, innovative, driven and responsive.” (Id.
 4   pp. 8-9.) The Initial Report next concludes that services SCB claims to offer on its
 5   website are “similar to claims made by other RINs brokers and . . . are consistent with
 6   industry expectations for broker conduct.” (Id. pp. 8-9.) As support for this statement,
 7   Lipow simply copies and pastes statements from other RIN broker websites beside like
 8   statements from SCB’s website. (Id. pp. 11-13.)
 9         B.      Lipow’s Opinions on Reasonable Reliance
10         This so-called analysis is prefatory to the core opinion Lipow intends to offer on
11 reasonable reliance. He summarizes a general opinion at page 14, which is followed by
12 three more specific opinions, which he offers in the form of questions. Lipow offers this
13 general opinion:
14         Based on my knowledge and experience in the energy markets including the
           use of brokers to facilitate transactions, it is reasonable for industry
15         participants to rely on these brokerage companies for price information and
           market intelligence. It is also my opinion that the information should be
16         provided truthfully and accurately to the best of the broker’s knowledge,
           without bias or conflict that might benefit the broker, and that brokers acted
17         in accordance with their advertised procedures.
18         (Schmidt Dec. Exh. 1 (Initial Report) p. 14.)
19 The three more specific opinions, offered in the form of questions, are as follows:
20              • Was it reasonable for PDI to rely on SCB’s Statements that there were no
21                 known performance issues with Absolute Fuels? (Id. p. 15.)
22              • Was it reasonable for PDI to rely on SCB Statements suggesting that
23                 Absolute Fuels was a legitimate producer based on SCB visits to the
24                 [Absolute Fuels] facilities? (Id. p. 16.)
25              • Was it reasonable for PDI to rely on SCB statements suggesting that
26                 Absolute Fuels was a legitimate producer due to its feedstock purchases?
27                 (Id. p. 18.)
28
                                             4
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 9 of 22 Page ID #:2750




 1           Lipow answers each question in the affirmative, concluding that it was reasonable
 2   for Pascu to rely on Silin’s statements. (Although not the basis of this motion, we note
 3   that Lipow isolates words or phrases, applying his own unique meaning and self-serving
 4   edits to quotes in order to conclude that these statements were not truthful.6)
                  1.     The Lipow Deposition Testimony Relating to the Foundation for
 5
                         His Opinions in the Initial Report, including Reasonable Reliance
 6           Lipow’s deposition confirmed his utter lack of experience or expertise in the RIN
 7   market. He has never brokered a RIN transaction. (Schmidt Dec. Exh. 3 (Lipow Depo.)
 8   80:23-81:7.) He could not recall if he had ever done a “sleeve transaction”—which is the
 9   type of transaction at issue in this lawsuit. (Id. 93:22-94:3.) Lipow has never
10 interviewed RIN brokers to learn about their business and practices, and he did not speak
11 to any of the RIN broker firms whose websites he visited. (Id. at 81:8-82:3.) His
12 opinions on how brokers and traders interact and whether the reliance was reasonable are
13 thus based solely on his visit to the RIN broker websites and his experience as a
14 commodities broker. He performed no study or research to determine what correlations
15 and differences might exist between RIN trading and commodities trading.
16           The deposition further revealed that Lipow’s opinions on reasonable reliance were
17 circumscribed to an analysis of the actual communications (IM messages, recorded
18 telephone calls, and emails) between Silin and Pascu. (Id. at 8:15-19; 89:3-23; 116:2-
19 22.) Both Lipow and PDI’s counsel offered testimony on this.
20
         Q: But my question goes to the reasonableness of their reliance, which is
21       what your opinion addresses.
22           Did you consider the information contained in the Dun & Bradstreet report,
             ordered at the time of the commencement of PDI’s relationship with
23           Absolute Fuels, in coming to your opinion as to the reasonableness of their
             reliance?
24
             MR. BEGLAND: Okay. I’m going to just object to the scope and clarify.
25
             6  For example, Lipow opined that a particular statement by Silin to Pascu was false but his Initial Report
26   misquotes the statement, omitting the portion of the exchange in which Pascu asked for his “opinion” on
     Absolute Fuels. (Lipow Dep. 133:8-140:10.) Lipow similarly opined that Silin had misrepresented facts by
27   stating that the “majors” had brokered Absolute Fuels RINs through SCB. Lipow, however, deleted from his
28   selective quotation, a phrase showing these transactions had been brokered by others, not SCB. (Lipow Dep.
     97:11-111:10.)
                                                  5
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 10 of 22 Page ID
                                   #:2751



 1         You’ve only been designated an expert for the purposes of testifying about
           PDI’s reliance on any information provided by SCB. So make sure your
 2         question addresses that and does not go outside the scope of your
           designation.
 3
           MR. JACKSON: Now, you’re just trying to coach the witness.
 4
           Q: My question is: Did you consider it? It’s either a “yes” or “no.” It’s not
 5         that hard.
 6         A: My answer is that for my opinions, I considered information that was
           transmitted between SCB and PDI. And since this piece of information was
 7         not transmitted between SCB and PDI, then the answer is no.
 8   (Id. at 73:9-74:9 (emphasis added).)
 9         In reaching his opinions on reasonable reliance, Lipow deliberately disregarded
10 what information PDI had or could have obtained from sources other than SCB. The list
11 of categories of information that he disregarded is remarkable. Lipow did not consider
12            • the nature and size of the transaction in assessing the reasonable of Pascu’s
13                reliance. (Id. at 113:23-116:1.)
14            • PDI’s resources. (Id. at 63:24-65:12.)
15            • PDI’s sophistication. (Id. at 65:13-67:1.)
16            • the transactions’ risk parameters. (Id. at 68:9-13.)
17            • PDI’s internal compliance requirements (Id. at 68:14-18.)
18 In addition,
19            • Lipow could not identify any industry publications bearing on this opinion.
20                (Id. at 48:25-51:13.)
21            • He purportedly relied only on publications listed in the Initial Report in
22                coming to his conclusions but was unsure whether any of those publications
23                even relate to biodiesel, let alone RIN trading. (Id. at 39:13-40:8.)
24            • He did not consider the inherent risks in any RINs transaction that the EPA
25                can declare the RINs invalid. (Id. at 111:2-20.)
26            • He did not consider any industry standards that might exist and whether
27                PDI’s reasonable reliance complied with such standards. (Id. at 51:15-
28                52:12.)
                                             6
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 11 of 22 Page ID
                                   #:2752



 1            • He did not consider Pascu’s background in concluding that she reasonably
 2                relied on Silin’s statements. (Id. at 62:11-15; 63:11-15.)
 3            • He could not articulate any criteria that he applied to this opinion. In
 4                response to the question (which every expert should be prepared to answer):
 5                “What criteria did you use?” Lipow’s counsel instructed: “You need not
 6                answer the question.” (Id. at 45:10-48:24.)
 7         Lipow’s answers to these questions in his depositions were informative, but his
 8   lack of answers—either because he was wrongly instructed by PDI’s counsel to not
 9   answer the question or because he could not answer—were just as telling. He refused to
10 answer a simple hypothetical question intended to explore his narrow approach to a
11 reasonable reliance determination.
12         Q Well, let me give you a hypothetical.
13         Let’s assume for purposes of this hypothetical, at the time that Simon Silin
           contacted Chelsea Pascu about purchasing RINs from Absolute Fuels,
14         Chelsea Pascu was aware in the marketplace, other than from SCB, that Jeff
           Gunselman was a convicted felon. But they nonetheless -- PDI nonetheless
15         went ahead and purchased the RINs from Absolute Fuels based upon
           information provided to it by SCB. Would that be reasonable reliance?
16
           A I -- I would need to time to think about our question. I’m not here to offer
17         opinions on hypotheticals.
18         Q So you’re not going to answer my question?
19         A No, I’m not answering the question.
20 (Id. at 75:6-21.)
                 2.     Lipow’s Opinion and Testimony on whether It Was Reasonable
21
                        for PDI to Rely on SCB’s Statements Is Inadmissible
22         Rule 702 of the Federal Rules of Evidence governs the admissibility of expert
23 testimony:
24
         If scientific, technical, or other specialized knowledge will assist the trier of
25       fact to understand the evidence or to determine a fact in issue, a witness
         qualified as an expert by knowledge, skill, experience, training, or education,
26       may testify thereto in the form of an opinion or otherwise, if (1) the
         testimony is based upon sufficient facts or data, (2) the testimony is the
27       product  of reliable principles and methods, and (3) the witness has applied
         the principles and methods reliably to the facts of the case.
28
                                             7
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 12 of 22 Page ID
                                   #:2753



 1         To be admissible, expert testimony must be reliable and relevant. Daubert v.
 2   Merrell Dow Pharms., Inc., 509 U.S. 579, 589-90 (1993) (Daubert I). To satisfy the
 3   reliability standard, “[e]xpert testimony must be (1) ‘based on sufficient facts or data,’
 4   (2) ‘the product of reliable principles and methods,’ and (3) applied ‘reliably’ to the facts
 5   of the case.” Brighton Collectibles, Inc. v. Renaissance Group Int’l, 2008 U.S. Dist.
 6   LEXIS 39707 *10 (S.D. Cal. May 13, 2008). It must be “more than subjective belief or
 7   unsupported speculation.” Daubert, 509 U.S. at 590; Diviero v. Uniroyal Goodrich Tire
 8   Co., 114 F.3d 851 (9th Cir. 1997) (affirming exclusion of expert opinion). “Nothing in
 9   either Daubert or the Federal Rules of Evidence requires a district court to admit opinion
10 evidence that is connected to existing data only by the ipse dixit of the expert.” General
11 Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997); Domingo v. T.K., 289 F.3d 600, 607 (9th
12 Cir. 2002). It is now clear that the Daubert gate-keeping role applies to all expert
13 testimony, not just scientific testimony. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S.
14 137 (1999).
15         “The Federal Rules of Evidence ‘assign to the trial judge the task of ensuring that
16 an expert’s testimony both rests on a reliable foundation, and is relevant to the task at
17 hand.’” Salomon v. Andrea C. & Andrea C. Fishing Corp., 2008 U.S. Dist. LEXIS
18 18720, at *4 (S.D. Cal. Mar. 11, 2008) (quoting Daubert, 509 U.S. at 597). In
19 determining whether to admit expert evidence, “[t]he trial court’s gatekeeping function
20 requires more than simply ‘taking the expert’s word for it.’” Rule 702 Advisory
21 Committee Notes (citing the Ninth Circuit opinion in Daubert v. Merrell Dow
22 Pharmaceuticals, Inc., 43 F.3d 1311, 1319 (9th Cir. 1995) (Daubert II)). The Ninth
23 Circuit has confirmed that the expert’s say-so is not enough: “We’ve been presented
24 with only the experts’ qualifications, their conclusions and their assurances of reliability.
25 Under Daubert, that’s not enough.” Daubert II, 43 F.3d at 1319. “The proponent of
26 expert testimony has the burden of proving the factual prerequisites necessary to the
27 admissibility of expert testimony by a preponderance of the evidence.” Hubbard v. Rite
28 Aid Corp., 433 F. Supp.2d 1150, 1161 (S.D. Cal. 2006) (citing Daubert, 509 U.S. at 592;
                                              8
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 13 of 22 Page ID
                                   #:2754



 1   Fed R. Evid. 702 Advisory Committee Notes).
 2         “The proponent of the testimony must establish admissibility by a preponderance
 3   of the evidence.” DSU Med. Corp. v. JMS Co., Ltd., 296 F. Supp.2d 1140, 1146 (N.D.
 4   Cal. Mar. 26, 2003) (citing Bourjaily v. United States, 483 U.S. 171, 175-76 (1988)).
 5   District courts within the Ninth Circuit have not hesitated to exclude testimony that does
 6   not satisfy the reliability and relevance standards of Daubert. Monolithic Power
 7   Systems, Inc. v. O2 Micro Int’l Ltd., 476 F. Supp.2d 1143 (N.D. Cal. 2007); Technology
 8   Licensing Corp. v. Gennum Corp., 2004 U.S. Dist. LEXIS 10604 (N.D. Cal. 2004); DSU
 9   Medical Corp. v. JMS Co., Ltd., 296 F. Supp.2d 1140 (N.D. Cal. 2003); Ameen William
10 Toomey Junior v. Nextel Communications, Inc., 2004 U.S. Dist. LEXIS 30793 (N.D. Cal.
11 Sept. 23, 2004).
12         Applying these general rules and this framework, there are four reasons the Court
13 should bar Lipow’s opinions.
14                      a.     Lipow’s Opinion Does Not Assist the Jury in Making a
                               Determination on the Reasonableness of PDI’s Reliance
15
16         The first issue is whether it will “assist the trier of fact to understand the evidence
17 or to determine a fact in issue.” Fed. R. Evid. 702. To answer that question, one must
18 first consider the jury’s role in addressing the element of reasonable reliance.
19         PDI’s fraud theories both require proof that Pascu reasonably relied on Silin’s
20 statements. Because reasonable reliance is an element of both fraud-based causes of
21 action, all fraud claims would require some type of instruction on reasonable reliance.
22 See CACI Jury Instructions 1907 and 1908. Unlike Lipow’s analysis, the jury will be
23 instructed according to the law, which requires consideration of all information known
24 and available to PDI. See, e.g., Guido v. Koopman, 1 Cal. App. 4th 837, 843–844 (1991)
25 (“In determining whether one can reasonably or justifiably rely on an alleged
26 misrepresentation, the knowledge, education and experience of the person claiming
27 reliance must be considered.”)
28
                                             9
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 14 of 22 Page ID
                                   #:2755



 1         Lipow’s opinion will not assist the jury, because it is confined to the commonplace
 2   words and phrases Silin and Pascu used—words and phrases the jury will be asked to
 3   review and assess—without regard to context. The usurpation of the role of the jury is
 4   not harmless but rather presents substantial prejudice that members of the jury will
 5   believe that Lipow is qualified as an expert to give an interpretation of the
 6   communications (see fn. 6 and exhibits cited therein) which should be given greater
 7   weight than their ordinary understanding of what was being communicated.
 8         Lipow’s opinion is, in short, ipse dixit—it is because Lipow says it is, regardless
 9   of context. Lipow’s ipse dixit will not assist the jury in determining whether Pascu’s
10 reliance was reasonable.
11                       b.    Opinion Testimony on Reasonableness of Reliance Is
                               Generally Not Permissible
12
13         Given the nature of a jury determination on reasonable reliance, which
14 encompasses a variety of relevant factors, it is questionable whether a “reliance” expert
15 would ever be appropriate in any context. The question was addressed in In re
16 Commercial Money Center, Inc., 737 F.Supp.2d 815, (N.D. Ohio 2010). The Court
17 addressed a variety of expert opinions offered in connection with claims by investors
18 against a surety seeking to recover on surety bonds. While allowing several expert
19 opinions given the complexities of the financial transactions, the Court decided that
20 experts were precluded from testifying as to the appropriateness of the investors’ reliance
21 on the underwriting conducted by the sureties.
22         Initially, while there is some utility to Neuschaefer’s background description
           of the expected “division of labor” between a surety and its agent/broker, the
23         Court finds that Neuschaefer’s testimony in this area must be limited, in
           order to weed out inappropriate legal conclusions and avoid jury confusion.
24         Thus, while Neuschaefer will be permitted to testify as to the typical division
           of functions between the surety underwriter and the broker, Neuschaefer will
25         not be permitted to testify as to (1) any legal “duties” allegedly imposed on
           the underwriter; (2) the reasonableness of a hypothetical obligee’s reliance
26         on the underwriting performed by a surety; or (3) a surety’s ability to assert
           fraud defenses in the context of a surety bond or other instrument.
27
           Additionally, Neuschaefer will not be permitted to express any conclusions
28         to the extent that those conclusions are predicated upon Neuschaefer’s own
                                            10
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 15 of 22 Page ID
                                   #:2756


           evaluation of the evidence, rather than upon any special expertise possessed
 1         by Mr. Neuschaefer. Thus, Mr. Neuschaefer may not testify as to his view of
           the facts in this action (including the amount of commissions received by A
 2         & M or the underwriting authority given to A & M), where the basis for Mr.
           Neuschaefer’s opinions is his “review of the depositions,” “review of the
 3         transaction documents,” or “review of the evidence.”
 4   737 F.Supp.2d at 853. Similarly, in Aguilar v. International Longshoremen's Union
 5   Local No. 10, 966 F.2d 443, 447 (9th Cir. 1992), the court concluded “the reasonableness
 6   and foreseeability of the casual workers’ reliance . . . were inappropriate subjects for
 7   expert testimony.”
 8         Lipow’s testimony similarly invades the province of the court and the jury.
 9   Lacking any experience with RINs, Lipow has simply read testimony, emails, text
10 messages, and transcripts of phone conversations and concluded that it was reasonable
11 for Pascu to rely on Silin. Lipow does precisely what the jury is charged with doing.
12
                          c.   Lipow is Not Applying any Standard to His Analysis
13
           Because Lipow assumed that he could simply review the communications and
14
     come to a decision on the reasonableness of the reliance, he did not apply any standards
15
     or consult any learned treatises or publications in coming to his opinion. The only
16
     “research” he did was to visit websites of other brokers. Lipow is not applying any
17
     independent standard to the question of reasonable reliance; rather, he is simply, reading
18
     communications, determining what he believes was communicated between the parties,
19
     and stating whether it was reasonable to rely on what was said. As stated above, his
20
     opinions are mere ipse dixit—he opines it was reasonable to rely because he says so.
21
           In Daubert II, the Ninth Circuit noted that a “very significant fact to be considered
22
     is whether the experts are proposing to testify about matters growing naturally and
23
     directly out of research they have conducted independent of the litigation, or whether
24
     they have developed their opinions expressly for purposes of testifying.” 43 F.3d at 1317.
25
     If the evidence is not based upon independent research, the district court must determine
26
     whether there exists any “other objective, verifiable evidence that the testimony is based
27
     on scientifically valid principles.” Id. at 1317-18 (internal quotation marks omitted).
28
                                            11
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 16 of 22 Page ID
                                   #:2757



 1          This same type of opinion testimony was rejected in North Star Mut. Ins. Co. v.
 2   Zurich Ins. Co., 269 F.Supp.2d 1140, 1148 (D. Minn. 2003). That case involved
 3   questions of insurance broker duties. The expert (which, unlike Lipow, at least had
 4   relevant industry experience), was prepared to testify, based on his review of the
 5   discovery, whether it was reasonable for one party to assume that another had certain
 6   authority. The expert in North Star, much like Lipow, simply went through the exercise
 7   of reading communications between an insurance agent and insurance broker to reach his
 8   conclusion and applied no independent standards to the facts presented. The Court
 9   rejected this approach:
10          On this Record, we conclude that Rongstad’s opinions are inadmissible,
            under Rule 702, because there has been no showing that his opinion was
11          “the product of reliable principles and methods,” as required by that Rule.
            Instead, North Star seeks to introduce evidence as to how one person who,
12          admittedly, has been in the insurance industry for many years, views a series
            of communications between an insurance agent, and an insurance broker.
13          Rongstad’s “opinion,” however, “is connected to existing data only by the
            ipse dixit of the expert,” because he intends to testify that the communication
14          was sufficient to bind Zurich, simply because he says it was sufficient.
            General Electric Co. v. Joiner, [522 U.S. 136, 146 (1997)]. Notably
15          Rongstad does not cite any treatise, any industry code of conduct, or
            anything outside of his self-professed opinion, to demonstrate that the
16          opinion has any legitimacy. Since Rongstad’s opinion is not tethered to any
            independent authority, were we to allow his opinion, the Jury would have no
17          means of ascertaining the reliability of Rongstad’s views.
18 269 F.Supp.2d at 1148. Similarly, Lipow has admitted that all he is doing is reviewing a
19 series of communications and concluding whether Pascu could reasonably rely on those
20 communications. Lipow did not consult any learned treatise, periodicals, or other
21 materials to determine that the reliance was reasonable. Indeed, he studiously avoided
22 straying outside the limited confines of what he was tasked to do and did not consider
23 anything other than the words that were used in the communications between Pascu and
24 Silin.
25          If this were a case involving a foreign language, or obscure commercial jargon, it
26 might be reasonable to have someone experienced with that commercial jargon opine on
27 what was conveyed by one party and understood by the other. Here, however, both
28 parties are communicating in ordinary English through normal means and there is
                                             12
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 17 of 22 Page ID
                                   #:2758



 1   nothing to de-code or translate. The jury can certainly determine what was said, and,
 2   after being properly instructed on reasonable reliance, decide whether Pascu reasonably
 3   relied on the statements.
 4
                        d.       Even if the Opinions Lipow Intends to Offer Were
 5
                                 Permitted, He Has No Basis to Opine on Reasonableness of
 6                               Pascu’s Reliance on Silin’s Statements because Lipow Has
                                 No Education, Training or Experience Relating to RINs
 7
 8         Even if it were appropriate for a plaintiff to support its burden of proving
 9   reasonable reliance in a fraud action through expert testimony and the expert consulted
10 appropriate standards, Lipow would not be qualified to offer that opinion in this case.
11 The question presented here is whether it was reasonable for a RIN trader such as Pascu
12 to rely on statements of a RIN broker such as Silin in the context of these transactions
13 and speculative trading activities.
14         The RIN market is unique. RINs are different from even securities and
15 commodities traded in the Over-the-Counter-Market. Lipow fails to concede that RIN
16 trades present any unique risks or are materially different from trading commodities.
17 The question then is whether Lipow’s general experience in the commodities market
18 qualifies him to testify about the RIN market or anything else pertinent to this case.
19         That question is similar to an issue presented in Ralston v. Mortgage Investors
20 Group, Inc., 2011 WL 6002640 (N.D. Cal. Nov. 30, 2011), which dealt with the duties of
21 mortgage brokers and whether certain information relating to Pay Option Adjustable
22 Rate Mortgages (“Pay Option ARM Loans”) was concealed from customers. Defendants
23 proffered an expert who had twenty-five years of industry experience as a practicing
24 mortgage broker, including fifteen years running his own brokerage, and substantial
25 experience training, consulting, and communicating with others in the field. The Court
26 concluded that, while qualified to testify on the general practices of mortgage brokers,
27 the expert was not qualified to offer an opinion on Pay Option ARMs, the specific type
28 of mortgage that was at issue in the case.
                                            13
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
 Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 18 of 22 Page ID
                                  #:2759



1            There is a marked distinction between years of professional practice
             resulting in knowledge and experience pertaining to the practiced industry,
2            and experience that is sufficiently specific to a sub-practice within the
             industry. Unlike his opinions about the general practices of mortgage
3            brokers, the court here cannot ascertain the reliability of D’Alonzo’s
             extrapolations to the “typical” practices of other brokers in offering and
4            explaining Pay Option ARMs. Given the small percentage of his work
             dedicated to the provision of Option ARM loans and the absence of any
5            testimony on the extent to which D’Alonzo’s national work with NAMB
             may have focused on Option ARM loans, D’Alonzo’s opinion that
6            “mortgage brokers typically provided [the same types of] information to
             their borrower-clients” lacks foundation even based on his own work. Nor
7            does D’Alonzo’s general testimony that he talked “a lot” with brokers about
             Option ARM loans “because it was important to make sure that consumers
8            understood their options,” without more, form the basis for expert testimony
             on the topic.7
9
     2011 WL 6002640 *6.
10
             Here, Lipow’s experience and knowledge relating to RINs is even more tenuous
11
     than this expert’s experience and knowledge relating to Pay Option ARM loans. He has
12
     never traded RINs and never engaged in the RIN OTC marketplace, whether as a broker
13
     or a trader.
14
             Not only does he lack this professional background, Lipow has not consulted with
15
     any RIN brokers or RIN traders to see what type of information they typically provide or
16
     obtain. His only work on this was going to websites of RIN brokers and determining
17
     what types of services they offer. This hardly reflects the level of expertise and
18
     knowledge that is required of an expert to qualify under Rule 702.
19
             C.       Lipow’s Opinions on Existence of a Partnership
20
             The Court should also exclude Lipow’s second opinion. This opinion—that SCB
21
     and PDI’s relationship constitutes a partnership under the law—was ostensibly offered as
22
     a rebuttal to SCB’s expert, John Gelbard.
23
24
25
26           7  Certain Underwriters at Lloyds, London v. Inlet Fisheries, Inc., 389 F.Supp.2d 1145, 1154 (D. Alaska
     2005), aff’d, 518 F.3d 645 (9th Cir.2008) (excluding expert testimony on a specialized category of insurance
27   policies where, “[d]espite many years of experience in the insurance business” that would allow him to testify as
28   an expert on some aspects of industry standards, the expert lacked the “particularized experience” necessary for
     qualification to testify as an expert on the topic of the more specialized insurance policy).
                                                 14
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 19 of 22 Page ID
                                   #:2760



 1                1.     Summary of the Rebuttal Report
 2         In his initial report, Gelbard opined that the trade confirmations and the
 3   interactions between Pascu and Silin were typical of a customer-broker relationship.
 4   (Schmidt Dec. Exh. 6 (Gelbard Report), p. 9.) Gelbard’s testimony is based on decades
 5   of experience in various broker/trader relationships including acting as a broker and as a
 6   trader on RIN transactions. (Id. Attachment A.) He concluded that, while the broker
 7   compensation arrangement here was not the ordinary straight commission, it fits within
 8   one of several types of compensation arrangements that brokers traditionally enter into
 9   with their customers. (Id. at 9.)
10
                  2.     A “Partnership Formation” Expert Impermissibly Invades the
11
                         Role of the Court by Instructing the Jury on the Law
12         Lipow seeks to rebut those opinions by offering a Rebuttal Report that opines that
13 PDI and SCB formed a partnership in connection with the RINs PDI purchased from
14 Absolute Fuels: either several individual partnerships for each transaction or one all-
15 encompassing partnership cover all the transactions. (Schmidt Dec. Exh. 2 (Rebuttal
16 Report) p. 5 (“It is my belief that the PDI and SCB relationship on the transactions in this
17 litigation was a partnership.”); Exh. 3 (Lipow Depo.) 145:10-23.) Unlike Gelbard, who
18 is not testifying about the creation of a legal relationship but rather applying his years of
19 experience in the relevant market to testify about norms and practices within that context,
20 Lipow’s testimony is, at bottom, a legal conclusion.
21         An expert witness cannot give an opinion as to her legal conclusion, i.e., an
22 opinion on an ultimate issue of law. Aguilar, 966 F.2d at 447. Similarly, instructing the
23 jury as to the applicable law “is the distinct and exclusive province” of the court. United
24 States v. Weitzenhoff, 35 F.3d 1275, 1287 (9th Cir.1993) (citations and quotation marks
25 omitted).
26         The existence of a partnership depends on whether the evidence comports with
27 recognized legal requirements (as outlined in SCB’s pending Motion for Summary
28
                                             15
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
  Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 20 of 22 Page ID
                                   #:2761



 1   Judgment, pp. 12-15). Those elements include: (1) joint interest in a common business;
 2   (2) with an understanding to share profits and losses; and (3) a right to joint control.
 3   County of Riverside v. Loma Linda University, 118 Cal. App. 3d 300, 313 (1981); Holtz
 4   v. United Plumbing & Heating Co., 49 Cal. 2d 501, 506-507 (1957); and Kaljian v.
 5   Menezes, 36 Cal. App. 4th 573, 586 (1995). The jury can consider all of this evidence
 6   and receive instructions on these legal standards.
 7         Offering a “partnership formation” expert is analogous to designating an expert
 8   (whether lawyer or layperson) on oral contract formation or on the question of whether a
 9   valid lease came into being by virtue of the parties’ communications and actions. No
10 court would ever permit such testimony and this is likewise not a proper subject for
11 expert testimony.
12
                  3.     Lipow is Not Qualified to Offer an Opinion on Partnership
13
                         Formation
14         Even if expert witnesses were allowed to testify about the law, Lipow is not
15 qualified to offer this opinion based on his education, experience or research. Lipow has
16 no legal training. (Schmidt Dec. Exh. 3 (Lipow Depo) 55:24-56:15; 37:12-38:3.) He did
17 not read any cases or legal textbooks on partnership formation. (Id. at 153:14-154:21)
18 He only reviewed the evidence and applied his layman’s understanding of the concept of
19 a partnership. (Id. at 148:10-149:8.) PDI’s counsel objected to this line of questioning
20 on the basis that it calls for a legal conclusion and thereby, perhaps unwittingly
21 underscored the problem with a layperson testifying on this. (Id. at 149:9-22.) That
22 layman’s understanding apparently comes from the fact that, when he worked for Amoco
23 in the late 1980’s or early 1990’s, he believes that the company was in joint venture to
24 split profits. (Id. at 155:4-14.)
25         If there were such a thing as an expert witness on partnership law (e.g., a law
26 professor who teaches about partnerships and joint ventures and is familiar with the
27
28
                                             16
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
 Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 21 of 22 Page ID
                                  #:2762



 1   Uniform Partnership Act), Lipow is not that expert. Once again, he offers an ipse dixit
 2   view of the parties’ relationship, and the Court should reject it.
 3         In summary, PDI seeks to have Lipow not only invade the province of the Court
 4   (by instructing the jury on the requirements of a partnership under the law), but further,
 5   invade the province of the jury but giving his layperson’s assessment of how the
 6   evidence stacks up on that question. (Id. at 143:9-144:6.)
 7   II.   CONCLUSION
 8         Lipow’s two opinions, lacking any plausible foundation, do not assist the trier of
 9   fact and should be excluded.
10 Dated: June 9, 2014                         Respectfully submitted,
11
12                                             By: /s/ Kent J. Schmidt
                                                  J David Jackson
13                                                Kent J. Schmidt
                                                  Bryan M. McGarry
14                                                DORSEY & WHITNEY LLP
                                                  Attorneys for Defendant
15                                                SCB & ASSOCIATES, LLC
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             17
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINE NO. 1
 Case 8:12-cv-01893-CJC-AN Document 87-1 Filed 06/09/14 Page 22 of 22 Page ID
                                  #:2763



1                                CERTIFICATE OF SERVICE
2               All Case Participants are registered for the USDC CM/ECF System
3                  Petro-Diamond Incorporated v. SCB & Associates, et al.
                 Central District of California Case Number 8:12-cv-01893-CJC-ANx
4
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
5     DEFENDANT SCB & ASSOCIATES, LLC’S MOTION IN LIMINE NO. 1 TO
      EXCLUDE OR LIMIT THE EXPERT REPORT AND OPINION TESTIMONY
6                         OF ANDREW LIPOW
7          I hereby certify that on June 9, 2014, I electronically filed the foregoing with the
8    Clerk of the Court for the United States District Court for the Central District by using
9    the CM/ECF system.
10         Participants in the case who are registered CM/ECF users will be served by the
11 CM/ECF system.
12
                                                   /s/ Kent J. Schmidt
13                                                 Kent J. Schmidt
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                      CERTIFICATE OF SERVICE
                                    CASE NO. 8:12-cv-01893 CJC (ANx)
